                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )   CASE NO. 3:12-00025
                                                 )   JUDGE SHARP
DAVID MARK LINEBERRY                             )
DELAINA THOMPSON                                 )

                                           ORDER


        A final pretrial conference in this matter is hereby scheduled for Friday, September 6,

2013, at 1:00 p.m.

        It is so ORDERED.



                                              KEVIN H. SHARP
                                              UNITED STATES DISTRICT JUDGE




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